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   11                       UNITED STATES DISTRICT COURT
   12                     CENTRAL DISTRICT OF CALIFORNIA
   13
        IN RE: NATIONAL FOOTBALL               Case No. 2:15-ml-02668-PSG (JEMx)
   14   LEAGUE’S “SUNDAY TICKET”
        ANTITRUST LITIGATION                   NON-PARTY APPLE INC.’S
   15                                          STATEMENT REGARDING
        THIS DOCUMENT RELATES TO               PLAINTIFFS’ MOTION TO TAKE
   16   ALL ACTIONS                            LIMITED DISCOVERY AFTER
                                               THE DEADLINE FOR FACT
   17                                          DISCOVERY
   18                                          REDACTED VERSION OF
                                               DOCUMENT PROPOSED TO BE
   19                                          FILED UNDER SEAL
   20                                          Judge: Hon. Philip S. Gutierrez
                                               Date/Time: 8/19/22, 1:30 p.m.
   21                                          Discovery Cutoff Date: 8/5/2022
                                               Pretrial-Conference Date: 2/9/2024
   22                                          Trial Date: 2/22/2024
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    1   in consideration of Plaintiffs’ discovery deadlines, but Plaintiffs refused. (Id. at ¶ 5,
    2   Ex. B.) Instead, Plaintiffs filed their motion to compel in this district on May 31,
    3   2022, as if Rule 45 did not apply to them. (Dkt. No. 486.)
    4         That same day, Apple filed a motion to quash Plaintiffs’ subpoena in the
    5   Northern District to avoid waiver of its jurisdictional objection. (See N.D. Cal. Dkt.
    6   No. 1.) On June 7, 2022, Apple met and conferred with Plaintiffs regarding Apple’s
    7   request to expedite and seal any hearing on the motion to quash in the Northern
    8   District, but Plaintiffs were unwilling to stipulate to an expedited or sealed hearing.
    9   (Stevens Decl. at ¶ 6.) On June 9, 2022, Judge McDermott denied Plaintiffs’ motion
   10   to compel in this district, citing the authority conferred to the Northern District
   11   “plainly and unequivocally” by Rule 45(d)(1), Rule 45 (d)(2)(i) and Rule 45(f) and
   12   stating: “Plaintiffs will have to enforce their subpoena in the Northern District or
   13   demonstrate exceptional circumstances to that Court to obtain transfer back to this
   14   Court.” (Dkt. No. 499.) The hearing on Apple’s motion to quash is set for August
   15   25, 2022. (See N.D. Cal. Dkt. No. 24.)
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           Dated: July 29, 2022                  Respectfully submitted,
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   18                                            WALKER STEVENS CANNOM LLP
   19                                                   /s/ Bethany Stevens
                                                         Bethany Stevens
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                                                 Attorneys for Non-Party Apple Inc.
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